2/3/25, 12:13 PM      Case 1:24-cv-40154-WGY                Document
                                                              Case Details16-4      FiledTrial
                                                                           - Massachusetts 02/04/25
                                                                                               Court N2    Page 1 of 6
  2462CR002055 Commonwealth vs. Muchiri, Walter

    Case Type:
    Criminal
    File Date
    04/29/2024
    Initiating Action:
    OUI-LIQUOR OR .08% c90 §24(1)(a)(1)
    Case Judge:



    All Information   Party   Charge   Event   Docket   Disposition


      Party Information
      Muchiri, Walter
      - Defendant
       Alias                                                  Party Attorney
                                                              Attorney
                                                              Griffis, Esq., Darren T
                                                              Bar Code
                                                              675627
                                                              Address
                                                              Rudolf, Smith, Griffis and Ruggieri, LLP
                                                              446 Main St
                                                              Suite 1503
                                                              Worcester, MA 01608
                                                              Phone Number
                                                              (508)425-6330
                                                                                                                More Party Information




      Party Charge Information
      Muchiri, Walter
      - Defendant
       Charge # 1:
        90/24/J-6 - Misdemeanor - more than 100 days incarceration        OUI-LIQUOR OR .08% c90 §24(1)(a)(1)
        Counts:
      Original Charge                                                                 Jurisdiction
      90/24/J-6 OUI-LIQUOR OR .08% c90 §24(1)(a)(1) (Misdemeanor - more than          Worcester
      100 days incarceration)                                                         Date of Offense
      Amended Charge                                                                  04/28/2024

      Muchiri, Walter
      - Defendant
       Charge # 2:
        90/24/E-2 - Misdemeanor - more than 100 days incarceration        NEGLIGENT OPERATION OF MOTOR VEHICLE c90 §24(2)(a)
        Counts:
      Original Charge                                                                 Jurisdiction
      90/24/E-2 NEGLIGENT OPERATION OF MOTOR VEHICLE c90 §24(2)(a)                    Worcester
      (Misdemeanor - more than 100 days incarceration)                                Date of Offense
      Amended Charge                                                                  04/28/2024

      Muchiri, Walter
      - Defendant
       Charge # 3:
        90/34J-2 - Misdemeanor - more than 100 days incarceration         UNINSURED MOTOR VEHICLE c90 §34J
        Counts:
      Original Charge                                                                 Jurisdiction
      90/34J-2 UNINSURED MOTOR VEHICLE c90 §34J (Misdemeanor - more than              Worcester
      100 days incarceration)                                                         Date of Offense
      Amended Charge                                                                  04/28/2024




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2/3/25, 12:13 PM   Case 1:24-cv-40154-WGY                     Document
                                                                Case Details16-4      FiledTrial
                                                                             - Massachusetts 02/04/25
                                                                                                 Court N2   Page 2 of 6
      Events
      Date                 Session                             Location Type                     Event      Result
                                                                                                 Judge
      04/29/2024 08:55     1st Session, Ctrm 14                            Arraignment                      Held - Personal Recog.
      AM                                                                                                    Release
      05/03/2024 09:00     2nd Session, Ctrm 15                            Pretrial Hearing                 Defendant defaulted-Fl to
      AM                                                                                                    Appear
      08/09/2024 09:00     Video Conference Session`                       Default Removal                  Reschedule of Hearing
      AM                                                                   Hearing
      08/27/2024 09:00     Video Conference Session`                       Default Removal                  Held - Default Removed - CR
      AM                                                                   Hearing
      09/26/2024 09:00     Video Session Courtroom 15                      Pretrial Hearing                 Held-PT
      AM
      10/25/2024 09:30     3rd Session, Ctrm 23 (WOR CR                    Motion Hearing (CR)              Held - Motion allowed
      AM                   JURY)
      10/30/2024 08:30     Video Session Courtroom 23                      Jury Trial (CR)                  Reschedule of Hearing
      AM
      11/13/2024 08:30     Video Session Courtroom 23                      Jury Trial (CR)                  Reschedule of Hearing
      AM
      12/11/2024 08:30     Video Session Courtroom 23                      Jury Trial (CR)                  Reschedule of Hearing
      AM
      01/07/2025 08:30     Video Session Courtroom 23                      Jury Trial (CR)                  Not Held
      AM
      01/23/2025 08:30     Video Session Courtroom 23                      Jury Trial (CR)                  Not Held
      AM
      02/12/2025 09:00     Video Session Courtroom 23                      Hearing to Review
      AM                                                                   Status




      Docket Information
      Docket       Docket Text                                                                                 Amount File          Image
      Date                                                                                                      Owed Ref            Avail.
                                                                                                                      Nbr.
      04/29/2024 Criminal Complaint issued from Electronic Application:
                 Originating Court: Worcester District Court
                 Case Number: 2462AC002317-AR
                 Receiving Court: Worcester District Court
                 ;
      04/29/2024 Complaint issued upon new arrest.
      04/29/2024 Statement of facts filed.
      04/29/2024 Event Resulted: Arraignment scheduled on:
                     04/29/2024 08:55 AM
                 Has been: Held - Personal Recog. Release
                 Hon. Timothy M Bibaud, Presiding
      04/29/2024 Defendant arraigned before Court, advised of right to counsel.                                          1
                 Judge: Bibaud, Hon. Timothy M
      04/29/2024 Committee for Public Counsel Services appointed.
                 Judge: Bibaud, Hon. Timothy M
      04/29/2024 Plea of Not Guilty entered on all charges.
                 Judge: Bibaud, Hon. Timothy M
      04/29/2024 Bail revocation warning (276/58) given to the defendant
                 Judge: Bibaud, Hon. Timothy M
      04/29/2024 Released on Personal Recognizance
                 Judge: Bibaud, Hon. Timothy M
      04/29/2024 Appearance filed                                                                                        2
                 for the purpose of Case in Chief by Judge Hon. Timothy M Bibaud.
      05/03/2024 Event Resulted: Pretrial Hearing scheduled on:
                     05/03/2024 09:00 AM


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2/3/25, 12:13 PM    Case 1:24-cv-40154-WGY                       Document
                                                                   Case Details16-4      FiledTrial
                                                                                - Massachusetts 02/04/25
                                                                                                    Court N2        Page 3 of 6
      Docket       Docket Text                                                                                          Amount File   Image
      Date                                                                                                               Owed Ref     Avail.
                                                                                                                               Nbr.
                   Has been: Defendant defaulted-Fl to Appear
                   Hon. Michael G Allard - Madaus, Presiding
      05/03/2024 Default Warrant ordered to issue.                                                                             3
                 Judge: Allard - Madaus, Hon. Michael G
      08/01/2024 Defendant's request for speedy trial filed.                                                                   4

                   Judge: D'Andrea, Brian
      08/02/2024 Habeas Corpus for prosecution issued to Plymouth County House of Correction returnable for
                 08/09/2024 09:00 AM Default Removal Hearing:
                 Further Orders:
                 The Commonwealth of Massachusetts is hereby ordered to return to ICE the defendant named
                 above, immediately upon his release from the physical custody of the Commonwealth, or
                 following his hearing before this court on the date and time indicated above.
                 The Commonwealth of Massachusetts has appointed Plymouth County Sheriff¿s Dept to pick up
                 and transfer to and from said court listed above. The current jail location that holds the defendant
                 named above will be notified by ICE of this transportation and be ordered to have ready and
                 available the morning of the court date listed.¿
                 ****IN PERSON RM 14****
      08/02/2024 Document and/or notice received and filed on criminal case to wit Defendant's miscellaneous                   5
                 correspondence
      08/09/2024 Event Resulted: Default Removal Hearing scheduled on:
                     08/09/2024 09:00 AM
                 Has been: Reschedule of Hearing      For the following reason: Habeas Corpus issued but
                 defendent not present
                 Hon. Robert J. Pellegrini, Presiding
      08/14/2024 Habeas Corpus Writ issued to Plymouth County House of Correction for Walter Muchiri, detainee
                 presently in the custody of United States Custom Enforcement for his-her appearance on
                 08/27/2024 09:00 AM Default Removal Hearing. The Sheriff of Plymouth County to arrange for
                 the detainee's presence as a defendant at the scheduled court hearing.
                 *****IN PERSON RM 14****

                   Judge: D'Andrea, Brian
      08/14/2024 Form generated:

                   Habeaus Corpus for Detainee in the Custody of ICE
                   Sent On: 08/14/2024 14:36:49
                   Submitted On: 08/14/2024 14:36:59
      08/27/2024 Event Resulted: Default Removal Hearing scheduled on:
                     08/27/2024 09:00 AM
                 Has been: Held - Default Removed - CR
                 Hon. Michael G Allard - Madaus, Presiding
      08/27/2024 Defendant before Court on Warrant, Warrant recalled as served.
                 Judge: Allard - Madaus, Hon. Michael G
      08/27/2024 Warrant recalled:
                 Judge: Allard - Madaus, Hon. Michael G
      08/27/2024 Warrant recalled:
                 Default Warrant cancelled on 08/27/2024 for Muchiri, Walter
      08/27/2024 Bail ordered: $ $1,000.00 surety bond or $ $100.00 cash.

                   Judge: Allard - Madaus, Hon. Michael G
      08/27/2024 Reasons for ordering bail.                                                                                    6

                   Judge: Allard - Madaus, Hon. Michael G
      08/27/2024 Defendant is ordered committed to Worcester County House of Correction in lieu of having                      7
                 posted bail in the amount ordered: ($1,000.00 Bond; $100.00 Cash), returnable for 09/26/2024
                 09:00 AM Pretrial Hearing; mittimus issued.

                   Court location of next event (if not your court):
                   Further Orders:
                   **VIDEO CONF RM 15**
      08/27/2024 Appearance filed                                                                                              8
                 for the purpose of Case in Chief by Judge Hon. Michael G Allard - Madaus.
      09/24/2024 Habeas Corpus Writ issued to Plymouth County House of Correction for Walter Muchiri, detainee
                 presently in the custody of United States Custom Enforcement for his-her appearance on
                 09/26/2024 09:00 AM Pretrial Hearing. The Sheriff of Worcester County to arrange for the

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2/3/25, 12:13 PM   Case 1:24-cv-40154-WGY                     Document
                                                                Case Details16-4      FiledTrial
                                                                             - Massachusetts 02/04/25
                                                                                                 Court N2    Page 4 of 6
      Docket       Docket Text                                                                                   Amount File   Image
      Date                                                                                                        Owed Ref     Avail.
                                                                                                                        Nbr.
                   detainee's presence as a defendant at the scheduled court hearing.
                   **VIDEO CONF RM 15**

                   Judge: Allard - Madaus, Hon. Michael G
      09/24/2024 Form generated:

                   Habeaus Corpus for Detainee in the Custody of ICE
                   Sent On: 09/24/2024 14:22:07
                   Submitted On: 09/24/2024 14:23:30
      09/26/2024 Event Resulted: Pretrial Hearing scheduled on:
                     09/26/2024 09:00 AM
                 Has been: Held-PT
                 Hon. Jennifer L Ginsburg, Presiding
      09/26/2024 Pretrial conference report filed.                                                                      9
                 Judge: Ginsburg, Hon. Jennifer L
      09/26/2024 Certificate of discovery compliance filed by Commonwealth.                                             10
                 Judge: Ginsburg, Hon. Jennifer L
      09/26/2024 Certificate of discovery compliance filed by defendant.                                                11
                 Judge: Ginsburg, Hon. Jennifer L
      09/26/2024 Defendant's Election of Jury or Jury-Waived Trial filed                                                12
                 Judge: Ginsburg, Hon. Jennifer L
      09/26/2024 Event Scheduled
                 Event: Jury Trial (CR)
                 Date: 10/30/2024 Time: 08:30 AM
                 Result: Reschedule of Hearing
      09/26/2024 Defendant's Election of Jury or Jury-Waived Trial filed                                                13

                   Judge: Ginsburg, Hon. Jennifer L
      09/26/2024 Certificate of discovery compliance filed by defendant.                                                14

                   Judge: Ginsburg, Hon. Jennifer L
      09/26/2024 Certificate of discovery compliance filed by Commonwealth.                                             15

                   Judge: Ginsburg, Hon. Jennifer L
      09/26/2024 Pretrial conference report filed.                                                                      16

                   Judge: Ginsburg, Hon. Jennifer L
      09/26/2024 Habeas Corpus Writ issued to Plymouth County House of Correction for Walter Muchiri, detainee
                 presently in the custody of United States Custom Enforcement for his-her appearance on
                 10/30/2024 08:30 AM Jury Trial (CR). The Sheriff of Plymouth County to arrange for the
                 detainee's presence as a defendant at the scheduled court hearing.
                 **IN PERSON CTRM 23**

                   Judge: Ginsburg, Hon. Jennifer L
      09/26/2024 Form generated:

                   Habeaus Corpus for Detainee in the Custody of ICE
                   Sent On: 09/26/2024 14:52:07
                   Submitted On: 09/26/2024 14:52:23
      09/27/2024 Form generated:

                   Habeaus Corpus for Detainee in the Custody of ICE
                   Sent On: 09/27/2024 09:27:19
                   Submitted On: 09/27/2024 09:27:27
      10/25/2024 Event Resulted: Motion Hearing (CR) scheduled on:
                     10/25/2024 09:30 AM
                 Has been: Held - Motion allowed
                 Hon. David P Despotopulos, Presiding
      10/25/2024 Defendant's motion to reschedule or continue scheduled court hearing filed and ALLOWED.                17
      10/25/2024 Event Resulted: Jury Trial (CR) scheduled on:
                     10/30/2024 08:30 AM
                 Has been: Reschedule of Hearing      For the following reason: Brought forward
                 Hon. David P Despotopulos, Presiding


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2/3/25, 12:13 PM   Case 1:24-cv-40154-WGY                   Document
                                                              Case Details16-4      FiledTrial
                                                                           - Massachusetts 02/04/25
                                                                                               Court N2       Page 5 of 6
      Docket       Docket Text                                                                                   Amount File   Image
      Date                                                                                                        Owed Ref     Avail.
                                                                                                                        Nbr.
      10/25/2024 Event Scheduled
                 Event: Jury Trial (CR)
                 Date: 11/13/2024 Time: 08:30 AM
                 Result: Reschedule of Hearing
      10/25/2024 Habeas Corpus for prosecution issued to Plymouth County House of Correction returnable for
                 11/13/2024 08:30 AM Jury Trial (CR):
                 Further Orders:
                 **REVISED HABE - CANCEL FOR 10/30**
                 **IN PERSON CTRM 23**
      10/25/2024 Habeas Corpus Writ issued to Plymouth County House of Correction for Walter Muchiri, detainee
                 presently in the custody of United States Custom Enforcement for his-her appearance on
                 11/13/2024 08:30 AM Jury Trial (CR). The Sheriff of Plymouth County to arrange for the
                 detainee's presence as a defendant at the scheduled court hearing.
                 ****CANCEL HABE FOR 10/30/24****
                 IN PERSON COURTROOM 23
      10/25/2024 Form generated:

                   Habeaus Corpus for Detainee in the Custody of ICE
                   Sent On: 10/25/2024 11:36:41
      10/25/2024 Form generated:

                   Habeaus Corpus for Detainee in the Custody of ICE
                   Sent On: 10/25/2024 11:38:18
                   Submitted On: 10/25/2024 11:38:26
      10/25/2024 Form generated:

                   Habeaus Corpus for Detainee in the Custody of ICE
                   Sent On: 10/25/2024 11:40:09
                   Submitted On: 10/25/2024 11:40:18
      11/13/2024 Event Resulted: Jury Trial (CR) scheduled on:
                     11/13/2024 08:30 AM
                 Has been: Reschedule of Hearing      For the following reason: Joint Request of Commonwealth
                 and Defendant
                 Hon. Steven D Power, Presiding
      11/13/2024 Event Scheduled
                 Event: Jury Trial (CR)
                 Date: 12/11/2024 Time: 08:30 AM
                 Result: Reschedule of Hearing
      11/13/2024 Habeas Corpus for prosecution issued to Plymouth County House of Correction returnable for
                 12/11/2024 08:30 AM Jury Trial (CR):
                 Further Orders:
                 **IN PERSON COURTROOM 23**

                   Judge: Power, Hon. Steven D
      11/14/2024 Habeas Corpus Writ issued to Plymouth County House of Correction for Walter Muchiri, detainee
                 presently in the custody of United States Custom Enforcement for his-her appearance on
                 12/11/2024 08:30 AM Jury Trial (CR). The Sheriff of Plymouth County to arrange for the
                 detainee's presence as a defendant at the scheduled court hearing.
                 ****IN PERSON RM 23 FOR JURY TRIAL****

                   Judge: Power, Hon. Steven D
      11/14/2024 Form generated:

                   Habeaus Corpus for Detainee in the Custody of ICE
                   Sent On: 11/14/2024 10:50:34
                   Submitted On: 11/14/2024 10:50:43
      11/15/2024 Document and/or notice received and filed on criminal case to wit OTHER:                               18
                 email sent by Plymouth H of C -Habe was denied by ICE

                   Judge: D'Andrea, Brian
      12/11/2024 Event Resulted: Jury Trial (CR) scheduled on:
                     12/11/2024 08:30 AM
                 Has been: Reschedule of Hearing      For the following reason: Both Parties Request
                 Hon. Steven D Power, Presiding
      12/11/2024 Event Scheduled
                 Event: Jury Trial (CR)


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2/3/25, 12:13 PM    Case 1:24-cv-40154-WGY                   Document
                                                               Case Details16-4      FiledTrial
                                                                            - Massachusetts 02/04/25
                                                                                                Court N2     Page 6 of 6
      Docket        Docket Text                                                                                  Amount File   Image
      Date                                                                                                        Owed Ref     Avail.
                                                                                                                        Nbr.
                    Date: 01/07/2025 Time: 08:30 AM
                    Result: Not Held
      12/11/2024 Habeas Corpus Writ issued to Plymouth County House of Correction for Walter Muchiri, detainee
                 presently in the custody of United States Custom Enforcement for his-her appearance on
                 01/07/2025 08:30 AM Jury Trial (CR). The Sheriff of Plymouth County to arrange for the
                 detainee's presence as a defendant at the scheduled court hearing.
                 ***IN PERSON ROOM 23***
      12/11/2024 Form generated:

                    Habeaus Corpus for Detainee in the Custody of ICE
                    Sent On: 12/11/2024 09:55:14
                    Submitted On: 12/11/2024 09:55:19
      12/11/2024 Document and/or notice received and filed on criminal case to wit OTHER:                               19
                 Habe was denied by ICE
      12/16/2024 Form generated:

                    Habeaus Corpus for Detainee in the Custody of ICE
                    Sent On: 12/16/2024 11:16:26
      01/07/2025 Event Scheduled
                 Event: Jury Trial (CR)
                 Date: 01/23/2025 Time: 08:30 AM
                 Result: Not Held
      01/07/2025 Event Resulted: Jury Trial (CR) scheduled on:
                     01/07/2025 08:30 AM
                 Has been: Not Held      For the following reason: Defendant not present
                 Comments: Defendant not transported
                 Hon. Jennifer L Ginsburg, Presiding
      01/07/2025 Habeas Corpus Writ issued to Plymouth County House of Correction for Walter Muchiri, detainee
                 presently in the custody of United States Custom Enforcement for his-her appearance on
                 01/23/2025 08:30 AM Jury Trial (CR). The Sheriff of Plymouth County to arrange for the
                 detainee's presence as a defendant at the scheduled court hearing.
                 **IN PERSON COURTROOM 23**

                    Judge: Ginsburg, Hon. Jennifer L
      01/07/2025 Form generated:

                    Habeaus Corpus for Detainee in the Custody of ICE
                    Sent On: 01/07/2025 12:35:19
      01/10/2025 Document and/or notice received and filed on criminal case to wit OTHER:                               20
                 Habe for defendant to appear on 1/23/25 for Jury Trial denied by ICE
      01/22/2025 Motion to Dismiss DENIED.
      01/23/2025 Event Resulted: Jury Trial (CR) scheduled on:
                     01/23/2025 08:30 AM
                 Has been: Not Held      For the following reason: Defendant not present
                 Comments: defendant not transported to event
                 Hon. Steven D Power, Presiding
      01/23/2025 Document and/or notice received and filed on criminal case to wit OTHER:                               21
                 Per council @ 1/23/25 Hearing: no habe to be requested for next court date of 2/12/25

                    Judge: Power, Hon. Steven D



      Case Disposition
      Disposition                                                           Date
      Pending                                                               04/29/2024




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